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8                                 UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11   UNITED STATES OF AMERICA,           )                 No.: CR 05 00491 VRW
                                         )
12         Plaintiff,                    )
                                         )
13         v.                            )                 REQUEST, STIPULATION AND ORDER
                                         )
14   OLEG GLADSHTEYN,                    )
                                         )
15         Defendants.                   )
     ____________________________________)
16
17      The parties request that the next calling of the case now set for January 31, 2006 at 10:30
18   a.m. be vacated and reset for March 14, 2006 at 10:30 a.m. for purposes of further status. This
19   request is made because discovery necessary to further preparation and evaluation of the case by
20   counsel has not yet been received. This discovery concerns transcripts of conversations
21   intercepted by Court approved wiretap applications. The government has previously estimated
22   approximately 30,000 conversations were intercepted and 8,000 of those are deemed pertinent.
23   In turn, approximately one third of those conversations are in the Russian language. To
24   determine the necessary motions and/or evaluate the evidence concerning each defendant,
25   transcripts of these conversations must be received. The translation and transcription of the calls
26   has been finished, and the United States has just provided the CD with the transcripts to the
27   discovery coordinator. To complete this disclosure and to provide for some review of the
28   transcripts, the parties jointly request that the status conference now set for January 31, 2006 be

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1    reset for March 14, 2006.
2       The parties further stipulate that the time between January 31, 2006 and March 14, 2006
3    shall be excluded pursuant to 18 U.S.C. section 3161(b) and 18 U.S.C. § 3161(h)(8)(B)(iv) and
4    agree that failure to grant a continuance would deny defense counsel the reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The parties
6    also agree, that the ends of justice are served by excluding the period from January 31, 2006
7    through March 14, 2006 and that these interests outweigh the interest of the public and the
8    defendant in a Speedy Trial within the meaning of 18 U.S.C. section 3161(h)(A).
9    STIPULATED:
10
                /s
11   LAUREL BEELER
     Assistant United States Attorney
12
               /s
13   ANTHONY GIBBS
     Attorney for Oleg Gladshteyn
14
15                                                ORDER
16      With the agreement of the parties, the Court enters this order (a) setting the next hearing date
17   on March 14, 2006, at 10:30 a.m., and (b) excluding time under the Speedy Trial Act, 18 U.S.C.
18   § 3161(b), from January 31, 2006 to March 14, 2006. More specifically:
19      1. This case is a multi-defendant wiretap case that involves approximately 30,000
20   intercepted calls and 8,000 pertinent calls. About one-third of the pertinent calls are in Russian.
21   Time has been excluded from the speedy trial clock through January 31, 2006. Discovery is
22   voluminous, and it still is being produced. Some has been provided to counsel; however, none of
23   the transcripts from the court-ordered interception have yet been received which are necessary to
24   the effective preparation of counsel. The Russian language transcripts have just been turned
25   over to the discovery coordinator as of January 17, 2006, and the English language transcripts
26   are still being prepared.
27      2. Based on the amount of discovery to be provided and reviewed, all defense counsel
28   (including those in a separate order for the other defendants filed with the Court) asked the Court

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1    to set the next status date for March 14, 2006 and to exclude time until then under the Speedy
2    Trial Act. The parties agree, and the Court finds and holds, that a failure to grant a continuance
3    would unreasonably deny defense counsel the reasonable time for effective preparation, given
4    the exercise of due diligence and given the need to review the existing discovery and obtain and
5    review the rest of the discovery. See 18 U.S.C. § 3161(h)(8)(B)(iv). The parties also agree, and
6    the Court finds and holds, that the ends of justice served by excluding the period from January
7    31, 2006 though March 14, 2006, outweigh the best interest of the public and the defendant in
8    the rights set forth under the Speedy Trial Act. See id. § 3161(h)(A).
9       3. Accordingly, the Court (1) sets a new hearing date of March 14, 2006, at 10:30 a.m., and
10   (2) orders that the period from January 31, 2006 and March 14, 2006 be excluded from Speedy
11   Trial Act calculations under 18 U.S.C. § 3161(h)(8)(A) & (B) (i) & (iv).
     IT IS SO ORDERED.                                         ISTRIC
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14         January 30, 2006
     DATED:________________                        ___________________________



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                                              UNIT




                                                   VAUGHN R. WALKER
15                                                        GRAN
                                                   United States District Judge


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     (CR 05 00491 VRW)                                 3
